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    AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                         United States District Court
                                             SOUTHERN DISTRICT OF CALIFORNIA                                       17JAN20 PM M4I
                 UNITED STATES OF AMERICA                               JUDGMENT IN A CMMINAfeGA&E district COURT
                                                                        (For Offenses Committed On or A ft§P C A11 FOR MIA
                                    y.
              ANTONIO HERNANDEZ-OCHOA (9)                                                                               IVVSClO
                                                                           Case Number:         15CR3144-DMS

                                                                        Frank T Morell CJA
                                                                        Defendant’s Attorney
    REGISTRATION NO.                73150112

    □-
    THE DEFENDANT:
    13 pleaded guilty to count(s)         2 of the Indictment

    □ was found guilty on count(s)
        after a plea of not guilty.
    Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                         Count
    Title & Section                  Nature of Offense                                                                  Number(s)
    21 USC 846, 841(a)(1)            CONSPIRACY TO DISTRIBUTE COCAINE                                                         2




        The defendant is sentenced as provided in pages 2 through     __          3            of this judgment.
    The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
    □ The defendant has been found not guilty on count(s)
    □ Count(s)                                                    is          dismissed on the motion of the United States.

         Assessment: $100.00.



    3   No fine                □ Forfeiture pursuant to order filed                                       , included herein.
           IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
    judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
    any material change in the defendant’s economic circumstances.

                                                                        January 20. 2017
                                                                        Date of Imposition of Sentence

                                                                                       C
                                                                        HON. DANA M. SABRAW
                                                                        UNITED STATES DISTRICT JUDGE



                                                                                                                      15CR3144-DMS
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                                                                       PROBATION
    Upon release from imprisonment, the defendant shall be on supervised release for a term of:
     FIVE (5) YEARS


         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
    custody of the Bureau of Prisons unless removed from the United States.
    The defendant shall not commit another federal, state or local crime.
    For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
               The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
    □          substance abuse. {Check, ifapplicable.)
    IE1        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
               The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
    El
               Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
               The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
               seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
    □          resides, works, is a student, or was convicted of a qualifying offense. {Check if applicable.)
               The defendant shall participate in an approved program for domestic violence. {Check ifapplicable.)
    □
               If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
          such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
          of Payments set forth in this judgment.
               The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
           with any special conditions imposed.
                                              STANDARD CONDITIONS OF SUPERVISION
          1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
          2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
          3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
          4)  the defendant shall support his or her dependents and meet other family responsibilities;
          5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
              reasons;
          6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
          7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
              any paraphernalia related to any controlled substances, except as prescribed by a physician;
          8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
          9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
              unless granted permission to do so by the probation officer;
          10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
              observed in plain view of the probation officer;
          11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
          12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
              the court; and
          13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or
              personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance
              with such notification requirement.



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                                        SPECIAL CONDITIONS OF SUPERVISION

        1.     Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

    2.         Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
               Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
               or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
               revocation; the defendant shall warn any other residents that the premises may be subject to searches
               pursuant to this condition.

    3.         Not enter or reside in the Republic of Mexico without written permission of the Court or probation
               officer.

    4.         Seek and maintain full time employment and/or schooling or a combination of both.

    5.         Obtain a G.E.D.

    6.         Submit to drug testing by the probation office, at their discretion, of up to one time per week.

    7.         Be monitored for a period of EIGHT (8) months, with the location monitoring technology at the
               discretion of the probation officer. The offender shall abide by all technology requirements and shall
               pay all or part of the costs of participation in the location monitoring program, as directed by the court
               and/or the probation officer. In addition to other court-imposed conditions of release, the offender’s
               movement in the community shall be restricted as specified below:

    8.           X     You are restricted to your residence at all times except for employment; education; religious
               services; medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-
               ordered obligations; or other activities as pre-approved by the probation officer. (Home Detention)




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